Filed 8/26/24 Rastegar &amp; Matern v. Matern Law Group CA2/4
          NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
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   IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                         SECOND APPELLATE DISTRICT
                                      DIVISION FOUR


RASTEGAR &amp; MATERN,                                                 B322699
ATTORNEYS AT LAW,
                                                                   (Los Angeles County
     Plaintiff and Respondent,                                     Super. Ct. No.
       v.                                                          22STCV06275)

MATERN LAW GROUP, PC, et al.,

       Defendants and Appellants.




     APPEALS from orders of the Superior Court of Los Angeles
County, Jon R. Takasugi, Judge. Affirmed.
     Valensi Rose, David Krol and Jessica M. Stemple for
Defendants and Appellants.
     Klapach &amp; Klapach, Joseph S. Klapach for Plaintiff and
Respondent.
                       INTRODUCTION

       This action involves a dispute over attorneys’ fees awarded
in a class action lawsuit. Matern Law Group (MLG) and Matthew
Matern (Matern) (collectively, defendants) appeal from an order
denying their special motion to strike the complaint under Code
of Civil Procedure section 425.16, the anti-SLAPP statute.1
Defendants also separately appeal from an order awarding
sanctions against them for filing a frivolous anti-SLAPP motion.2
We conclude defendants did not meet their burden of
demonstrating the conduct forming the basis of the underlying
complaint involved protected activity within the meaning
of section 425.16, and the trial court did not abuse its discretion
by awarding sanctions. Accordingly, we affirm.

      FACTUAL AND PROCEDURAL BACKGROUND

A.    The Complaint’s Allegations
      The complaint alleges the following facts. In 1992, Matern
and Farzad Rastegar (Rastegar) founded a general partnership,
which was the predecessor of plaintiff Rastegar &amp; Matern,
Attorneys at Law, APC (R&amp;M). Rastegar and Matern founded
R&amp;M in 1999, replacing the prior general partnership. Matern
and Rastegar were at all times relevant equal shareholders,
directors, and officers of R&amp;M. Rastegar and Matern agreed that

1     SLAPP is the acronym for strategic lawsuit against public
participation. All further undesignated statutory references are
to the Code of Civil Procedure.
2     Valensi Rose, PLC (Valensi Rose), defendants’ counsel of
record, also appeals from the order awarding sanctions. On
March 13, 2023, this court granted the parties’ request to
consolidate case numbers B322699 and B324826 for all purposes.


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“all of the net profits of [ ] R&amp;M with respect to cases upon which
it was retained as counsel would be divided evenly, regardless of
the respective time and/or work performed by either [ ] Matern or
Rastegar.”
       In November 2006, R&amp;M filed a class action complaint in
the Los Angeles Superior Court bearing the caption Martinez v.
ABM Industries, Inc., LASC Case No. BC362540 (Martinez). In
2007, Martinez was coordinated with two related cases pending
in the San Francisco County Superior Court. The coordinated
cases became collectively known as the ABM Industries Overtime
Cases, JCCP No. CJC-07-004592. R&amp;M has allegedly been class
counsel for plaintiffs in the consolidated action at all relevant
times.
       In 2015, Matern formed his own separate law firm called
MLG.3 He remained a shareholder, director, and officer of R&amp;M.
       In 2018, the trial court in ABM Industries Overtime Cases
granted a motion for class certification and appointed as class
counsel “Matthew J. Matern of Rastegar &amp; Matern APC” and
attorneys of two other law firms.
       After the ABM Industries Overtime Cases had been pending
for nearly 15 years, the parties reached a settlement. Shortly
after the settlement had been reached, Mattern and MLG
allegedly “unilaterally, and without the consent of [R&amp;M], filed
with the trial court a ‘Notice of Association of Counsel’ indicating
that [Matern and MLG] were ‘associated as counsel for Plaintiffs’
in the case.” This unilateral association of counsel allegedly was
“contrary to the agreement between [ ] Matern and Rastegar and


3    The complaint alleges that “[a]ccording to [ ] Matern, [ ]
MLG had previously been known as the Law Offices of Matthew
J. Matern and then, subsequently, as Matern Law Group.”


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a breach of [ ] Matern’s fiduciary duties to [R&amp;M].” R&amp;M
allegedly learned, through Rastegar, that the original draft of the
settlement agreement identified R&amp;M as class counsel “but was
changed, at the direction of Defendant MLG and its employees, to
identify Defendant MLG as class counsel even though MLG had
never been appointed by the Court in the ABM Industries
Overtime Cases as Class Counsel.”
      The complaint further alleges that “[s]ubsequent to the
attempted association of counsel, [ ] Matern has consistently and
uniformly represented to Rastegar, co-counsel in the ABM
Industries Overtime Cases, defense counsel in the ABM Industries
Overtime Cases, and the Court his intention to seek attorney’s
fees on behalf of Defendant MLG, in a direct breach of his
fiduciary duties to Plaintiff R&amp;M and in a clear breach of
Defendant Matern’s agreement with Rastegar regarding the
distribution of the fees from the ABM Industries Overtime Cases.”
As an example of “Matern’s representations regarding his
continued efforts to breach his fiduciary duties to R&amp;M[,]” the
complaint quotes excerpts of declarations submitted by Matern in
the ABM Industries Overtime Cases in which he declared, among
other things, “all [Matern’s] efforts in litigating this matter were
by and through MLG[.]”
      Based on these allegations, R&amp;M sued Matern and MLG
for breach of contract and breach of fiduciary duty, and MLG for
intentional interference with prospective economic relations and
negligent interference with economic relations.4


4     According to Rastegar’s declaration in support of R&amp;M’s
opposition to the anti-SLAPP motion, after R&amp;M filed the
complaint in this matter, the court in the ABM Industries




                                 4
B.     The Special Motion to Strike
       Defendants moved to strike the complaint under the anti-
SLAPP statute. They contended the complaint should be stricken
because it is based on conduct arising solely out of defendants’
litigation conduct and statements and thus, they argued, the
conduct is protected under both the anti-SLAPP statute
(specifically, section 425.16, subdivision (e)(1),(2) &amp; (4)) and the
litigation privilege (Civ. Code § 47, subd. (b).).
       In opposition, R&amp;M argued the underlying conduct giving
rise to its claims is defendants’ attempt to wrongfully take and
divert attorneys’ fees from R&amp;M while Matern continues to be an
officer of R&amp;M. The court filings referenced in the complaint (i.e.,
the declarations and notice of association of counsel), according to
R&amp;M, are merely evidence of defendants’ wrongdoing, not the
wrongdoing itself.
       After a hearing on the special motion to strike, the trial
court denied the motion. The trial court held R&amp;M’s “claims here
are not based on the act of filing declarations with the Court.
Rather, [R&amp;M’s] claims are based on the Defendants’ alleged
improper taking of attorney fees, which is evidenced by
declarations filed in the underlying litigation.” The trial court
therefore denied the motion, concluding: “Defendants have not


Overtime Cases issued a final order approving the settlement
agreement, and awarded attorneys’ fees in the total amount of
$46,666,666.00 to class counsel. Matern and other appointed
class counsel mediated the division of attorneys’ fees and “agreed
that ‘MLG/[R&amp;M]’ would be awarded 25% of the total amount
[i.e., $11,666,666.00]” of attorneys’ fees awarded by the court. The
fees allocated to MLG/R&amp;M are currently being held in trust by
Rust Consulting, the class administrator, for distribution pending
the resolution of this dispute.


                                 5
met their burden to show [R&amp;M’s] claims arise out of protected
activity.”
       Defendants timely appealed.

C.     Motion for Sanctions
       Following the trial court’s denial of defendants’ motion to
strike, R&amp;M filed a motion seeking sanctions in the amount of
$34,140.50 against Matern, MLG, and their attorneys of record,
Valensi Rose, for allegedly filing a frivolous motion. The trial
court granted the motion, reasoning: “Plaintiff’s claims are based
on the Defendants’ alleged improper taking of attorney fees. It is
frivolous to argue that Plaintiff’s claims arise from protected
activity simply because Plaintiff offers court filings as evidence of
the improper taking. Such a rule would leave courts effectively
unable to resolve disputes between firms over fees accrued by
their respective attorneys.” The court then found the requested
hourly rate and hours billed to be unreasonable, and thus
awarded fees in the reduced amount of $7,000 and costs in the
amount of $386.50.
       Defendants and Valensi Rose timely appealed from the
order awarding sanctions.

                          DISCUSSION

A.     The Anti-SLAPP Statute and Standard of Review
       SLAPP suits are “generally meritless suits brought by large
private interests to deter common citizens from exercising their
political or legal rights or to punish them for doing so.” (Wilcox v.
Superior Court (1994) 27 Cal.App.4th 809, 816, disapproved on
another ground in Equilon v. Enterprises v. Consumer Cause, Inc.
(2002) 29 Cal.4th 53, 68.) To combat these types of suits, the
Legislature enacted section 425.16—known as the anti-SLAPP



                                  6
statute—to provide a procedural remedy to dispose of lawsuits or
individual causes of action brought to chill the valid exercise of a
person’s constitutional rights. (Rusheen v. Cohen (2006) 37
Cal.4th 1048, 1055-1056; see Baral v. Schnitt (2016) 1 Cal.5th
376, 395; § 425.16, subd. (b)(1).)
       The anti-SLAPP statute requires a two-step process: first,
the moving party must establish that the lawsuit’s claims are
based on activity protected by the statute. (Briganti v.
Chow (2019) 42 Cal.App.5th 504, 508.) If the defendant meets
that burden, the burden shifts to the plaintiff to demonstrate that
each challenged claim based on protected activity is legally
sufficient and factually substantiated. (Ibid.) “‘[W]ithout
resolving evidentiary conflicts,’” the court must determine
whether the plaintiff’s showing, if accepted by the trier of fact,
would be sufficient to sustain a favorable judgment; if not, the
claim is stricken. (Ibid.) “In making these determinations the
court considers ‘the pleadings, and supporting and opposing
affidavits stating the facts upon which the liability or defense is
based.’ (§ 425.16, subd. (b)(2).)” (Briganti, supra, at p. 508.)
       We review the trial court’s decision to grant or deny an
anti-SLAPP motion de novo. (Monster Energy Co. v. Schechter
(2019) 7 Cal.5th 781, 788.)

B.    Defendants Failed to Meet Their Burden of
      Demonstrating Protected Activity Forms the Basis of
      R&amp;M’s Claims
      Defendants contend R&amp;M’s claims are based on filings in
court (a notice of association of counsel and declarations of
Matern) in the ABM Industries Overtime Cases. It follows,
according to defendants, that R&amp;M’s claims are based on
protected activity under section 425.16 subdivision (e)(2), (e)(3),



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and/or (e)(4) as statements made “before a judicial proceeding”,
and/or “in connection with an issue under consideration or review
by a judicial body”, and/or “any other conduct in furtherance of
the constitutional right of free speech in connection with a public
issue or an issue of public interest.” R&amp;M does not dispute that
statements, writings and pleadings in connection with civil
litigation constitute protected petitioning activity under the anti-
SLAPP statute. It counters, however, that the underlying conduct
giving rise to R&amp;M’s claims is defendants’ attempt to wrongfully
take and divert R&amp;M’s attorneys’ fees, not the court filings. We
agree with R&amp;M. As discussed below, defendants failed to meet
their burden of demonstrating that the litigation activity itself
(i.e., the notice of association of counsel and declarations)
provides the basis for defendants’ alleged liability.
        Anti-SLAPP motions may only target claims “arising from
any act of [the defendants] in furtherance of the [defendants’]
right of petition or free speech under the United States
Constitution or the California Constitution in connection with a
public issue . . . .” (§ 425.16, subd. (b)(1).) Our Supreme Court has
considered “the relationship a defendant must show between a
plaintiff's claim and the sorts of speech on public matters the
Legislature intended to protect.” (Park v. Board of Trustees of
California State University (2017) 2 Cal.5th 1057, 1062 (Park).)
The Park court explained that the focus of the first-prong of the
anti-SLAPP analysis is “on determining what ‘the defendant’s
activity [is] that gives rise to his or her asserted liability—and
whether that activity constitutes protected speech or
petitioning.’” (Id. at p. 1063.) “[A] claim is not subject to a motion
to strike simply because it contests an action or decision that was
arrived at following speech or petitioning activity, or that was




                                  8
thereafter communicated by means of speech or petitioning
activity. Rather, a claim may be struck only if the speech or
petitioning activity itself is the wrong complained of, and not just
evidence of liability or a step leading to some different act for
which liability is asserted.” (Id. at p. 1060, italics in original.) “In
short, in ruling on an anti-SLAPP motion, courts should consider
the elements of the challenged claim and what actions by the
defendant supply those elements and consequently form the basis
for liability.” (Id. at p. 1063.)
       Applying these principles, we agree with the trial court
that defendants’ alleged wrongful activity giving rise to their
asserted liability does not constitute protected speech or
petitioning. Rather, the notice of association of counsel and
declarations “merely . . . provide evidentiary support for the
claim[s].” (Park, supra, 2 Cal.5th at p. 1064.)
       R&amp;M’s first cause of action for breach of contract is based
on allegations that Rastegar and Matern agreed “that all of the
net profits of Plaintiff R&amp;M with respect to cases upon which it
was retained as counsel would be divided evenly, regardless of
the respective time and/or work performed by either Defendant
Matern or Rastegar.” Defendants allegedly breached the
agreement by “attempting to exclude Plaintiff R&amp;M as class
counsel[,]” as evidenced by MLG’s filing of the notice of
association in the ABM Industries Overtime Cases, and Matern
“continues to breach[ ] his obligations to Plaintiff R&amp;M by acting
against the best interests of the corporation.” The crux of the
allegations in support of its breach of contract claim, therefore, is
that Matern failed to comply with the partnership agreement to
distribute fees on a 50/50 basis.




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       The second cause of action for breach of fiduciary duty is
based on allegations that as a director and officer of R&amp;M,
Matern owes R&amp;M fiduciary duties of care, loyalty,
confidentiality, and good faith. Matern allegedly breached those
duties by failing to act in the best interests of R&amp;M and
improperly seeking to claim work as performed on behalf of MLG
when it was in fact performed on behalf of R&amp;M.
       The third and fourth causes of action for intentional and
negligent interference with prospective economic relations are
based on allegations that MLG knew of the relationship between
R&amp;M and Matern and, despite this knowledge, “MLG, by and
through Defendant Matern, represented that it was appointed
class counsel in the ABM Industries Overtime Cases” so “it could
obtain a large portion of the attorneys’ fees . . . that would have
otherwise been owed to Plaintiff R&amp;M.”
       In sum, the petitioning activities—the notice of association
of counsel and Matern’s declarations filed in support of MLG’s
attorneys’ fee motion—are “not the wrongs complained of” in
support of R&amp;M’s claims, as defendants contend. Instead, those
documents are evidence of defendants’ alleged wrongful scheme to
misappropriate R&amp;M’s attorneys’ fees awarded in the ABM
Industries Overtime Cases for themselves. Stated differently,
R&amp;M seeks no relief from defendants for their communicative
acts, but rather for their alleged wrongful scheme to divert
attorneys’ fees from R&amp;M. (See Park, supra, 2 Cal.5th at p. 1066
[“while [the alleged wrongful conduct] may be carried out by
means of [protected] speech . . . , [this] circumstance [does not]
transform[ ] [the] suit to one arising from speech”].)
       Defendants’ attempt to distinguish the cases relied upon by
the trial court, Gaynor v. Bulen (2018) 19 Cal.App.5th 864



                                10
(Gaynor) and Greco v. Greco (2016) 2 Cal.App.5th 810 (Greco), is
unavailing. In Gaynor, the beneficiaries of a family trust sued a
de facto trustee (defendant) for attempting to unfairly distribute
trust funds. (Gaynor, supra, 19 Cal.App.5th at p. 869.) According
to the beneficiaries, the defendant and other trustees breached
their fiduciary duties by implementing a plan to benefit one class
of beneficiaries over another, and by wrongfully withdrawing
trust assets to initiate and defend probate petitions to convince
the probate court to adopt their plan. (Id. at pp. 873-874.) In
response, the defendant filed an anti-SLAPP motion, contending
the beneficiaries’ claims arose out of the filing of probate
litigation. (Id. at p. 875.) The trial court denied the special motion
to strike, and the Court of Appeal affirmed (id. at pp. 875-876,
888), concluding the beneficiaries’ claims “were predicated on [the
defendant] taking actions to favor himself to the detriment of the
[trust] beneficiaries.” (Id. at p. 879.) Although the beneficiaries’
complaint included allegations regarding the improper use of
probate litigation, the court concluded those allegations “merely
reflected the manner in which the [other trustees and the
defendant] implemented their alleged wrongful plan to alter the
trustee succession rules to favor their own interests.” (Ibid.)
While recognizing the legal filings were protected activities, the
court explained that “[a]lthough the alleged breach of loyalty may
have been carried out by the filing of probate petitions, it was not
the petitioning activity itself that is the basis for the breach of
fiduciary claim.” (Id. at p. 880.)
       Similarly, in Greco, a trust beneficiary sued the trustee for
elder abuse, breach of fiduciary duty, constructive fraud, and
conversion for using trust funds to pursue litigation against the
beneficiary. (Greco, supra, 2 Cal App.5th at pp. 816-817.) The




                                 11
Court of Appeal held the beneficiary’s claims (other than the
fraud claim) did not arise out of protected activity, reasoning:
“The activity that gave rise to [the trustee’s] asserted liability
was the taking” of the trust funds, whereas “[f]unding the
litigation solely to pursue a vendetta was the reason the activity
(i.e. the taking) was allegedly wrongful.” (Id. at pp. 823-824,
italics in original.)
        Defendants argue Gaynor and Greco are inapplicable
because “those cases involved trustee surcharge petitions based
upon the actual taking of funds, whereas here no funds were ever
taken.” This argument misses the point. R&amp;M’s claims are based
on allegations that Matern continues to breach his contractual
and fiduciary duties to collect and distribute R&amp;M’s fees equally
between Rastegar and Matern by continuing to divert R&amp;M’s fees
to himself and MLG. That the money has not been “taken”
because it is being held in trust pending the resolution of this
dispute does not change the analysis.
        Accordingly, we conclude defendants failed to meet their
burden to show their conduct fell within the ambit of section
425.16, subdivision (e)(2),(e)(3), or (e)(4). The trial court,
therefore, properly denied defendants’ special motion to strike.

C.    The Trial Court Did Not Abuse Its Discretion By
      Awarding Sanctions In Favor of R&amp;M
      Under section 425.16, “[i]f the court finds that a special
motion to strike is frivolous or is solely intended to cause
unnecessary delay, the court shall award costs and reasonable
attorney’s fees to a plaintiff prevailing on the motion.” (§ 425.16,
subd. (c)(1).) “‘Frivolous in this context means that any
reasonable attorney would agree the motion was totally devoid of
merit.’” (L.A. Taxi Cooperative, Inc. v. The Independent Taxi



                                 12
Owners Assn. of Los Angeles (2015) 239 Cal.App.4th 918, 932.)
“‘An order awarding attorneys’ fees pursuant to section 128.5, as
incorporated in section 425.16, subdivision (c), is reviewed under
the abuse of discretion test. [Citation.] A ruling amounts to an
abuse of discretion when it exceeds the bounds of reason, and the
burden is on the party complaining to establish that discretion
was abused.’” (Alfaro v. Waterhouse Management Corp. (2022) 82
Cal.App.5th 26, 36-37 (Alfaro).)
      As discussed above, in its written ruling imposing
sanctions, the trial court found “[i]t is frivolous to argue that
[R&amp;M’s] claims arise from protected activity simply because
[R&amp;M] offers court filings as evidence of the improper taking.
Such a rule would leave courts effectively unable to resolve
disputes between firms over fees accrued by their respective
attorneys.” Defendants argue the trial court’s reasoning is flawed
because R&amp;M could have brought “an equitable declaratory relief
action without running afoul of the anti-SLAPP statute” and
thus, courts would still be able to resolve disputes between firms
over attorneys’ fees. Even if true, however, that fact alone does
not demonstrate the trial court “exceed[ed] the bounds of reason”
(Alfaro, supra, 82 Cal.App.5th at p. 37) in finding that any
reasonable attorney would agree that defendants’ anti-SLAPP
motion was devoid of merit.
      We likewise reject defendants’ argument that the award
should be reversed because it failed to identify the party or
attorney who was required to pay the award. R&amp;M moved for
sanctions against defendants and their counsel “jointly and
severally,” and the trial court granted the motion in the reduced
amount of $7,386.50. It is clear, therefore, that the trial court




                                13
ordered defendants and their counsel to pay the amount
awarded.5

                        DISPOSITION
     The orders are affirmed. R&amp;M is awarded its costs on
appeal.

    NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                                 CURREY, P. J.
We concur:




COLLINS, J.




ZUKIN, J.




5     Neither party challenges the amount of the award.



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